           Case 2:15-cr-00053-JLR       Document 230      Filed 12/01/15     Page 1 of 3




 1                                                                         Judge Jones
 2
 3
 4
 5
 6
 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10    UNITED STATES OF AMERICA,                   NO. CR15-053RAJ
11
                           Plaintiff,
12
13                v.                              DISCOVERY PROTECTIVE ORDER
                                                  (STIPULATED)
14    SHAWN ANDRE TURNER,
15
                          Defendant.
16
17
18
           This matter having come before the Court on a Stipulated Motion for Entry of a
19
     Discovery Protective Order, the Court hereby enters the following:
20
                              DISCOVERY PROTECTIVE ORDER
21
     A.    Definitions
22
           As used in this Order, the term “Protected Information” refers to any date of birth,
23
     Social Security Number, driver’s license number, bank account number, credit card number,
24
     personal identification number, address, telephone number, name and/or location of
25
     employment, criminal history record, background check, immigration history/status, and/or
26
27
28
     DISCOVERY PROTECTIVE ORDER –                                             UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
     U.S. v. BIAS et al.                                                       SEATTLE, WASHINGTON 98101
     CR15-053 RAJ - 1                                                                (206) 553-7970
           Case 2:15-cr-00053-JLR        Document 230         Filed 12/01/15   Page 2 of 3




 1 any other similar information or number implicating a privacy interest and belonging to an
 2 individual, business, partnership or corporation.
 3         “Protected Information” also shall include the name of any victim of the charged
 4 offenses or any witness for whom there are safety or security concerns.
 5         As used in this Order, the term “Protected Material” refers to any document or other
 6 record containing or reflecting Protected Information. Protected Materials shall be marked
 7 and labeled as “Protected Material.”
 8 B.      Procedures
 9         Possession of Protected Information and/or Protected Material is hereby limited to the
10 attorneys of record in the above captioned case and their investigators and agents. The
11 attorneys of record and their investigators and agents may review Protected Information
12 and/or Protected Material with any defendant. A defendant may visually inspect and review
13 such documents, but shall not be allowed to possess Protected Information (such as
14 unredacted copies of Protected Material). A defendant may possess documents from which
15 all Protected Information has been redacted.
16         The attorneys of record and their investigators and agents may review or discuss the
17 contents of documents containing Protected Material with any prospective witness, as long
18 as the attorneys of record and investigators and agents do not share the unredacted
19 documents, or share any Protected Information of victims or witnesses, with any prospective
20 witness.
21         If any Protected Information or Protected Material is filed in court or otherwise
22 disseminated as part of litigation, the parties agree to redact such information prior to filing;
23 unless, based on a party’s application prior to filing, the Court finds that an unredacted filing
24 is necessary and appropriate.
25         For redactions, numbers that constitute Protected Information shall be redacted to the
26 last 2-4 digits and names shall be redacted to initials.
27
28
     DISCOVERY PROTECTIVE ORDER –                                               UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
     U.S. v. BIAS et al.                                                         SEATTLE, WASHINGTON 98101
     CR15-053 RAJ - 2                                                                  (206) 553-7970
            Case 2:15-cr-00053-JLR      Document 230       Filed 12/01/15    Page 3 of 3




 1          The attorneys of record and their investigators and agents shall keep any Protected
 2 Material secured whenever the Protected Material is not being used in furtherance of their
 3 work in the above-captioned case.
 4          All documents containing Protected Material shall be returned to the United States, or
 5 destroyed, once all charges are resolved by dismissal or by final conviction.
 6          The parties agree that this Protective Order may be modified, as necessary, by filing
 7 with the Court a Stipulated Order Modifying the Protective Order, or by other order of the
 8 Court.
 9          DATED this 1st day of December, 2015.
10
11                                                   A
12                                                   The Honorable Richard A. Jones
                                                     United States District Judge
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     DISCOVERY PROTECTIVE ORDER –                                             UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
     U.S. v. BIAS et al.                                                       SEATTLE, WASHINGTON 98101
     CR15-053 RAJ - 3                                                                (206) 553-7970
